The VanderBloemen Group LLC

SCV Updated Chart to Include Exhibits 148 & 151 and Updated Interest Calculations Through Date of Trial


                                                                                                                                                                                                                         Note 1
                                                                                                 A                B                  C         D=A-B-C              J                    E            F=D-E+J              G                           H                  I=F+G+H
                                              Job Detail Report                              Computed
                                                                                           Revenue - For                                                         Project Fee
 TVG # per TVJ 2/28/19                                                                       Completed    Job Cost per TVJ                                         Payout-     TVJ Overhead                      Add BACK TVJ                   Add Back Costs           Adjusted Gross
 2/13/18 & Commission                                                                      Projects = Amt Feb 19 Comm                                          included in Job Adjustment -     TVJ Project       Overhead                       from Exhibit                Profit
   4/5/18   Calc Order of                                                                  Received from Sheet - INCLUDES       Est. Cost to                   Cost - UPDATED NOT IN JOB       Profit prior to Adjustment for                   151 - Net of TVJ
  Reports     Projects                Job #                      Description                   Client       PROJECT FEE          Complete      Gross Profit        4/3/19          COST         commission       FreshMarket                        OH Adj.
     21           1         Job#11-MEN-001        Menards - Dayton OH                          4,462,767        4,257,157                  -         205,610            87,513            -             293,123            -                                   -                  293,123
     22           2         Job#12-MEN-002        Menards - Chesterfield, MI                   6,004,803        5,921,462                  -          83,341            36,572            -             119,913            -                                   -                  119,913
     23           3         Job#12-MEN-005        Menards - Springfield, IL                    7,226,681        7,133,806                  -          92,875            41,969            -             134,844            -                                   -                  134,844
     24           4         Job#12-MEN-008        Menards - Cedar Falls, IA                    2,827,608        2,781,149                  -          46,459            34,966            -              81,425            -                                   -                   81,425
     25           5         Job#12-MEN-012        Menards - St. Peters, MO                     4,675,155        4,424,309                  -         250,846           107,506            -             358,352            -                                   -                  358,352
     28           6         Job#12-MEN-016        Menards - Livonia, MI                        6,411,765        6,376,379                  -          35,386            20,264            -              55,650            -                                   -                   55,650
     26           7         Job#12-MEN-018        Menards - Cheyenne, WY                       3,901,746        3,674,398                  -         227,348           100,620            -             327,968            -                                   -                  327,968
     27           8         Job#12-MEN-019        Menards - Evendale, OH                       6,248,254        6,071,644                  -         176,610            76,031            -             252,641            -                                   -                  252,641
     29           9         Job#12-MEN-021        Menards - Manchester, MO                     4,407,342        4,413,655                  -          (6,313)            1,157            -              (5,156)           -                                   -                    (5,156)
     32           10        Job#13-KROG-003       Kroger - Rochester, MI                       4,407,099        4,291,117                  -         115,982            47,519            -             163,501            -                                   -                  163,501
     33           11        Job#14-KROG-007       Kroger - Farmington, MI                        789,786          754,172                  -          35,614            15,263            -              50,877            -                                   -                   50,877
     34           12        Job#14-KROG-017       Kroger - Sterling Heights, MI                4,217,718        4,025,121                  -         192,597            82,542            -             275,139            -                                   -                  275,139
     31           13        Job#14-MEN-001        Menards - Jamestown, ND                     11,364,772       10,613,082                  -         751,690           322,153            -           1,073,843            -                                   -                 1,073,843
     36           14        Job#15-KRO-003F       Kroger - Roseville, MI Fire                      88,701          77,925                  -          10,776             4,618         (7,000)            8,394            -                                   -                    8,394
     41           15        Job#15-KRO-018P       Kroger - Fishers, IN misc                        35,791          36,666                  -             (875)             -           (7,000)           (7,875)           -                                       (1)              (7,875)
     42           16        Job#15-KRO-025F       Kroger - Bowling Green Fire                      18,287          17,116                  -            1,171              456         (7,000)           (5,373)           -                                 1,024                  (4,350)
     38           17        Job#15-KROG-002       Kroger - Sandusky, OH                        9,918,020        9,700,533                  -         217,487            93,209         (7,000)          303,696            -                                45,802                349,498
     35           18        Job#15-KROG-003       Kroger - Roseville, MI                       9,270,360        8,932,701                  -         337,659           144,711         (7,000)          475,370            -                                25,952                501,322
      2           19        Job#15KROG-006        Kroger - D-759                              11,481,718       11,058,417                  -         423,301           181,415         (7,000)          597,716            -                                36,432                634,148
      1           20        Job#15KROG-007        Kroger-D449FC-ST HTS Fuel CTR                1,471,826        1,384,515                  -          87,311            37,419         (7,000)          117,730            -                                 3,852                121,582
     40           21        Job#15-KROG-018       Kroger - Fishers, IN                        11,802,262       11,401,134                  -         401,128           171,965         (7,000)          566,093            -                                38,033                604,126
     39           22        Job#15-KROG-022       Kroger - Franklin, IN                       11,154,694       10,559,662                  -         595,032           255,014         (7,000)          843,046            -                                31,443                874,489
      6           23        Job#15KROG-025        KROGER - N878                               11,012,992       10,580,716                  -         432,276           185,101         (7,000)          610,377            -                                36,771                647,148
      8           24        Job#15MEN-001         MENARDS - INDY SOUTH                         2,685,022        2,521,346                  -         163,677            70,147         (7,000)          226,824            -                                19,848                246,671
      7           25        Job#15MEN-003         MENARDS - INDY EAST                          8,917,061        8,662,269                  -         254,792           121,355         (7,000)          369,147            -                                27,327                396,474
     53          26         Job#16-GEN-064        Southport Raod B Shops                         143,596          123,464                  -          20,132             9,332         (7,000)           22,464            -                                 3,191                 25,655
     37           27        Job#16-KRO-003P       Kroger - Rochester, MI Rail                      10,379           7,729                  -            2,650              -           (7,000)           (4,350)           -                                       (0)              (4,350)
      4           28        Job#16KROG-006        Kroger - IND J989                           12,696,386       12,260,583                  -         435,803           189,271         (7,000)          618,074            -                                27,274                645,348
     51          29         Job#16-KROG-015       Kroger - Flushing, MI fuel center            1,430,827        1,383,567                  -          47,260            20,636         (7,000)           60,897            -                                18,526                 79,423
     44           30        Job#16-KROG-019       Kroger - Appleton, WI                          206,532          181,669                  -          24,862            10,661         (7,000)           28,523            -                                 4,016                 32,539
     45           31        Job#17-KROG-001       Kroger - KRO CLIST ADDIT Franklin, IN          223,000          178,123                  -          44,877            19,625         (7,000)           57,501            -                                 2,099                 59,600
     46           32        Job#17-KROG-004       Kroger - Grafton, WI                             70,528          53,358                  -          17,170             7,359         (7,000)           17,529            -                                 6,124                 23,653
     47           33        Job#17-KROG-005       Kroger - Mequon, WI                              48,834          37,817                  -          11,017             4,722         (7,000)            8,739            -                                  774                   9,513
     48           34        Job#17-KROG-007       Kroger - Milwaukee, WI                           44,749          32,936                  -          11,813             5,063         (7,000)            9,876            -                                 5,243                 15,119
     49           35        Job#17-KROG-008       Kroger - Glendale, WI                            72,965          49,471                  -          23,493            10,069         (7,000)           26,562            -                                  539                  27,101
     20           36        Job#17KROG-009        KRO-Roundys 893                                  73,769          50,162                  -          23,607            10,117         (7,000)           26,724            -                                  735                  27,459
     19           37        Job#17TFM-002         THE FRESH MARKET #217                            76,708          64,517                  -          12,191             5,225         (7,000)           10,416          7,000                                 -                   17,416
     11           38        Job#17TFM-003         THE FRESH MARKET #043                            90,001          77,257                  -          12,744             5,462         (7,000)           11,206          7,000                                 -                   18,206
     50           39        Job#17-TFM-004        The Fresh Market - Asheville, NC                 91,341          84,306                  -            7,035            3,015         (7,000)            3,050          7,000                                 -                   10,050
     17           40        Job#17TFM-006         THE FRESH MARKET #155                            83,324          72,821                  -          10,503             4,501         (7,000)            8,004          7,000                                 -                   15,004
      9           41        Job#17TFM-007         THE FRESH MARKET #025                            86,666          76,757                  -            9,909            4,247         (7,000)            7,156          7,000                                 -                   14,156
     10           42        Job#17TFM-008         THE FRESH MARKET #026                            85,762          71,023                  -          14,739             6,317         (7,000)           14,056          7,000                                 -                   21,056
     18           43        Job#17TFM-009         THE FRESH MARKET #189                            71,951          62,784                  -            9,167            3,929         (7,000)            6,096          7,000                                 -                   13,096
     12           44        Job#17TFM-010         THE FRESH MARKET #068                            87,976          74,267                  -          13,709             5,875         (7,000)           12,584          7,000                                 -                   19,584
     16           45        Job#17TFM-011         THE FRESH MARKET #128                            75,918          63,521                  -          12,397             5,313         (5,000)           12,710          5,000                                 -                   17,710
     14           46        Job#17TFM-012         THE FRESH MARKET #103                          111,820          103,214                  -            8,606            3,689                           12,295            -                                   -                   12,295
     13           47        Job#17TFM-013         THE FRESH MARKET #073                            77,373          63,163                  -          14,210             6,090                           20,300            -                                   -                   20,300
     15           48        Job#17TFM-014         THE FRESH MARKET #115                            86,325          76,603                  -            9,722            4,167                           13,889            -                                   -                   13,889
     54           49        Job#18-KROG-006       Sandusky Perkins Ave Repair                       4,000           8,089                  -           (4,089)             -           (7,000)          (11,089)         7,000                                148                   (3,941)
     43                                                                                                -               -                   -             -                                                     -                                                                       -
Completed Projects                                                                             160,852,961       154,927,652               -       5,925,309        2,584,170             (229,000)      8,280,479             68,000   -   -              335,151               8,683,630
                                                  Rounding                                             -                    2                                                 (2)              -                   (4)
                                                                                               160,852,961       154,927,654                                        2,584,168             (229,000)      8,280,475

                                                                                            per Symbiont     per Symbiont                                      per Symbiont         per Symbiont




                                                                                          Case 2:17-cv-01407-LA Filed 08/16/24 Page 1 of 2                                                         Document 155-9
                                                                                                          Trial Exhibit 152 | Page 1 of 2
The VanderBloemen Group LLC

SCV Updated Chart to Include Exhibits 148 & 151 and Updated Interest Calculations Through Date of Trial


                                                                                                                                                                                                                                                            Note 1                                                 Note 2
                                                                  Other Fresh Market Completed
                                                                  jobs = 12                                                                                                          11,244                    4,819          (6,778)         9,286                   6,778                                                                    16,064


                                                                                                                                                                                Average               Average          Average          Average            Average                                                                      Average
                                                                  The Fresh Market #028 - Boca Raton,
                                  17TFM-015                       FL                                                                                                                 11,244                    4,819          (6,778)         9,286                   6,778                                                                     16,064
                                  17TFM-019                       The Fresh Market #171 - Naples, FL                                                                                 11,244                    4,819          (6,778)         9,286                   6,778                                                                     16,064
                                                                  The Fresh Market #021 - Fox Chapel
                                  17TFM-021                       Pitt, PA                                                                                                           11,244                    4,819          (6,778)         9,286                   6,778                                                                     16,064
                                  17TFM-022                       The Fresh Market #192                                                                                              11,244                    4,819          (6,778)         9,286                   6,778                                                                     16,064
                                                                  Sub-Total                                                                                                          44,977                   19,277       (27,111)         37,143                27,111                                                    -                   64,254



                                                                                                                     A                    B                     C             D=A-B-C                     J               E             F = D+J+E                 G                                                   H                I=F+G+H




                                                                                                                                 Job Cost per TVJ  Est. Cost to                                       Project Fee                  Estimated Project    Add BACK TVJ                                                               Adjusted Gross Profit
                                                                                                                                  6/25/20 AND     Complete as of                                    Payout- IN JOB  TVJ Overhead     Profit before        Overhead                                              Add Back Costs
                                                                                                                                BEFORE OVERHEAD Feb 28, 2019 per                                   COST - UPDATED Adjustment - NOT Commissions at       Adjustment for        Addback Legal   Addback other   from Exhibit 151 -
In Progress Jobs                                                                                              Contract Value      ADJUSTMENT            TVJ                    Gross Profit            6/25/20       IN JOB COST      Completion         FreshMarket             Costs            costs       Net of TVJ OH Adj.
      5                50         Job#16KROG-010                  KRO-JEF                                         7,345,939             7,186,898                     -             159,041                      -            (7,000)       152,041                     -             6,264          38,624            41,569                 238,498
      3                51         Job#16KROG-021                  Kro-WLAF J824                                  12,299,780            11,597,973                     -             701,807                      -            (7,000)       694,807                     -                                              52,654                 747,461
                                  Job#16KROG-021                  Kro-WLAF J824 - mead & hunt                                             539,694                     -            (539,694)                     -                         (539,694)                               126,085         400,000                -                   (13,609)
      52               52         Job#17-KROG-035                 Kroger - Muncie, IN                             2,147,306             1,997,876                     -             149,429                      -          (7,000)         142,429                     -                                              78,237                 220,667
     New               53         Job#18-MEN-001                  Menards-WH Addition Racine                      1,355,871             1,353,129                     -               2,742                      -          (7,000)          (4,258)                    -                                              17,082                  12,824
     New               54         Job#18-MEN-002                  Menards-WH Addition Burgtn                        967,500               925,143                     -              42,357                      -          (7,000)          35,357                     -                                              22,294                  57,651
     New               55         Job#18-MEN-016                  Menards-WH Addition Cheyenne, WY                  519,066               527,930                     -              (8,864)                     -          (7,000)         (15,864)                    -                                               4,599                 (11,265)
     New               56         Job#18-MEN-023                  Menards-Racine Phase II                         2,186,637             2,147,585                     -              39,052                      -          (7,000)          32,052                     -                                              13,956                  46,008
In Progress Projects                                                                                             26,822,098            26,276,227                     -             545,871                      -         (49,000)         496,871                     -          132,349         438,624            230,391               1,298,235


                                                                  SUB-TOTAL                 187,675,059                               181,203,879                     -           6,471,180            2,584,170         (278,000)      8,777,350                 68,000          132,349         438,624            565,542             9,981,865
                                                                  Final Adjustment to Exhibit 151                                                                                                                                                                                                                                            (21,747)
                                                                  GRAND TOTAL                                                                                                  6,516,158             2,603,446         (305,111)        8,814,493             95,111             132,349         438,624           565,542              10,024,372

Note 1 - the overhead deducted by Symbiont/TVJ in its 02/28/19 Commission Calculation for the Fresh Market projects has been added back as it is my understanding such deduction is not allowed.
                                                                                                                                                                                                                                                                                                                                                   30%
Ron Total Available                                                                                                                                                                                                                                                                                                                       3,007,312
Previously Paid                                                                                                                                                                                                                                                                                                                          (2,352,709)
Sub-total                                                                                                                                                                                                                                                                                                                                   654,603

Estimating Projects                                                                                                                                                                                                                         (68,036)                                                                                               -
Warranty Projects                                                                                                                                                                                                                           (80,722)                                                                                               -

Total Commission Owed                                                                                                                                                                                                                                                                                                                       654,603

Interest at 5% from 9/30/17 to present                                                                            8/19/2024              9/30/2017                  2,516                                                                                                                                                                   225,614
                                                                                                                                                                                                                                                       Subtotal                                                                             880,216

Employment agreement commission - Updated by Exhibits 145 & 146                                                                                                                                                                                                                                                       450,686
Interest at 5% from 3/25/15 to present                                                                            8/19/2024              3/25/2015                  3,436                                                                                                                                             212,131               662,817

Invoice 1                                                                                                                                                                                                                                                                                                              58,686
Invoice 12                                                                                                                                                                                                                                                                                                                2,024
Invoice 13                                                                                                                                                                                                                                                                                                             15,690
Invoice 14                                                                                                                                                                                                                                                                                                             45,000
 Invoice 16                                                                                                                                                                                                                                                                                                             1,445
Interest at 5% from 9/30/17 to present                                                                            8/19/2024              9/30/2017                  2,516                                                                                                                                              42,339
                                                                                                                                                                                                                                                       Subtotal                                                                              165,184
                                                                                                                                                                                                                                                                  TOTAL                                                            $     1,708,217
                                                                                                          Case 2:17-cv-01407-LA Filed 08/16/24 Page 2 of 2                                                                          Document 155-9
                                                                                                                          Trial Exhibit 152 | Page 2 of 2
